               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA, )
                          )
         Plaintiff,       )
                          ) C.A. No. 20-1744-CFC
    v.
                          )
WALMART INC. AND WAL-MART )
STORES EAST, LP,          )
                          )
         Defendants.      )

                     REQUEST FOR ORAL ARGUMENT

      Pursuant to D. Del. L.R. 7.1.4, Defendants Walmart Inc. and Wal-Mart Stores

East, LP, by and through its undersigned counsel, request oral argument on

Defendants’ Partial Motion to Dismiss (the “Motion” D.I. 83). Briefing is now

complete on the Motion (D.I.s 84, 85, 93, 94).




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